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 4                                 UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6                                                  ***
 7     UNITED STATES OF AMERICA,                               Case No. 2:16-cr-00046-GMN-PAL
 8                                          Plaintiff,                     ORDER
              v.
 9                                                            (Motion for Joinder – ECF Nos. 683)
       CLIVEN D. BUNDY,
10
                                          Defendant.
11

12            Before the court is Defendant Cliven D. Bundy’s Motion for Joinder (ECF No. 683) to
13     Defendant Peter T. Santilli’s Motion to Continue Case Management Rule 12 Motions and
14     Notices Deadline by 30 Days (ECF No. 672). On September 28, 2016, Santilli filed a Motion to
15     Withdraw (ECF No. 689) his Motion to Continue (ECF No. 672), which was granted October 4,
16     2016. On September 29, 2016, the court held a hearing on counsel for Defendant Cliven
17     Bundy’s Motion to Withdraw (ECF No. 675), during which the court orally approved a two
18     week extension of time for counsel to file motions. See Mins. of Proceedings (ECF No. 693).
19     Accordingly,
20            IT IS ORDERED that Defendant Cliven D. Bundy’s Motion for Joinder (ECF No. 683)
21     is:
22            1. DENIED in part as to joinder because Santilli’s Motion to Continue (ECF No. 672)
23                 has been withdrawn.
24            2. GRANTED in part to the extent that Defendant Cliven D. Bundy’s case
25                 management deadlines are extended until October 17, 2016.
26            DATED this 4th day of October, 2016.
27
                                                             PEGGY A. LEEN
28                                                           UNITED STATES MAGISTRATE JUDGE
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